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                                 #:327087


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  7
  8                               UNITED STATES DISTRICT COURT
  9                          CENTRAL DISTRICT OF CALIFORNIA
 10                                    SOUTHERN DIVISION
 11   CARTER BRYANT, an individual              Case No. CV 04-9049 DOC (RNBx)
 12                  Plaintiff,                 Consolidated with Case No. CV 04-9059
                                                and Case No. CV 05-2727
 13             v.
 14   MATTEL, INC., a Delaware                  [PROPOSED] INDICATIVE RULING
      corporation,                              ON MOTION FOR AMENDED
 15                                             JUDGMENT TO CORRECT
                     Defendant.                 CLERICAL MISTAKE PURSUANT
 16                                             TO FEDERAL RULE OF CIVIL
                                                PROCEDURE 62.1
 17
      AND CONSOLIDATED ACTIONS                  Date: TBD
 18                                             Time: TBD
                                                Dept: Courtroom 9D
 19
                                                Trial Date: January 18, 2011
 20                                             Judge: Hon. David O. Carter
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                                                         [PROPOSED] INDICATIVE RULING ON MOTION FOR AMENDED
                                                                                                JUDGMENT
                                                                                 CV-04-9049 DOC (RNBX)
      A/74523306.1
Case 2:04-cv-09049-DOC-RNB Document 10760-2 Filed 09/21/11 Page 2 of 3 Page ID
                                 #:327088


  1             The Court has considered the Joint Motion For Indicative Ruling On Motion
  2   For Amended Judgment To Correct Clerical Mistake Pursuant To Federal Rule Of
  3   Civil Procedure 62.1, brought by Omni 808 Investors, LLC (“Omni”), Mattel, Inc.
  4   (“Mattel”) and Isaac Larian (“Larian”) and the MGA Parties (“MGA”), as well as
  5   the argument of counsel and the other pleadings and papers on file in this action,
  6   and good cause appearing, this Court hereby states that should the Ninth Circuit
  7   grant limited remand for the purpose of considering a joint motion to amend the
  8   final judgment order (Dkt. No. 10704) to correct a clerical error, this Court would
  9   grant the joint motion and amend the Judgment (Dkt. No. 10704) as follows: (1)
 10   adding the name “Omni 808 Investors LLC,” on page 2 line 6, between the names
 11   “Isaac Larian” and “Carlos Gustavo Machado Gomez”; (2) adding the phrase
 12   “violation of 18 U.S.C. § 1964(c)” on page 2 line 10, between “violation of 18
 13   U.S.C. § 1962(c),” and “violation of 18 U.S.C. § 1962(d)”; and (3) adding the
 14   phrase “violations of Cal. Civ. Code §§ 3439.04(a)(1), 3439.04(a)(2), 3439.05,
 15   3439.07, and 3439.08, prohibited distributions under Cal. Corp. Code §§ 501 and
 16   506, breach of constructive trust” on page 2 line 13, between “conversion” and
 17   “unfair competition.”
 18
 19   DATED: ____________, 2011

 20
 21                                        Hon. David O. Carter
                                           United States District Court Judge
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                                                           [PROPOSED] INDICATIVE RULING ON MOTION FOR AMENDED
                                               -1-                                                JUDGMENT
                                                                                   CV-04-9049 DOC (RNBX)
      A/74523306.1
Case 2:04-cv-09049-DOC-RNB Document 10760-2 Filed 09/21/11 Page 3 of 3 Page ID
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  1                                   PROOF OF SERVICE
  2
      I am over eighteen years of age, not a party in this action, and employed in the
  3   County of Orange, California at 600 Anton Boulevard, 18th Floor, Costa Mesa,
      California 92626-1924.
  4
      On September 21, 2011, I served the attached:
  5
      [PROPOSED] INDICATIVE RULING ON MOTION FOR AMENDED
  6   JUDGMENT TO CORRECT CLERICAL MISTAKE PURSUANT TO
      FEDERAL RULE OF CIVIL PROCEDURE 62.1
  7
      On each interested party in this action, as follows:
  8
  9           :      (BY ELECTRONIC MAIL) I electronically filed this document
 10                  through the Court’s CM/ECF systems and all parties who are registered
                     with the Court’s CM/ECF System received a copy by electronic mail.
 11
 12
      I declare under penalty of perjury under the laws of the State of California that the
 13   foregoing is true and correct and that this declaration was executed on September
      21, 2011, at Costa Mesa, California.
 14
 15
                                                     /s/ Paul A. McConnell
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                                                             [PROPOSED] INDICATIVE RULING ON MOTION FOR AMENDED
                                               -1-                                                  JUDGMENT
                                                                                     CV-04-9049 DOC (RNBX)
      A/74523306.1
